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       GARY A. BORNSTEIN (pro hac vice)                 RICHARD J. DOREN, SBN 124666
1      gbornstein@cravath.com                           rdoren@gibsondunn.com
       YONATAN EVEN (pro hac vice)                      DANIEL G. SWANSON, SBN 116556
2      yeven@cravath.com                                dswanson@gibsondunn.com
       LAUREN A. MOSKOWITZ (pro hac vice)               JASON C. LO, SBN 219030
3      lmoskowitz@cravath.com                           jlo@gibsondunn.com
       MICHAEL J. ZAKEN (pro hac vice)                  GIBSON, DUNN & CRUTCHER LLP
4      mzaken@cravath.com                               333 South Grand Avenue
       M. BRENT BYARS (pro hac vice)                    Los Angeles, CA 90071-3197
5      mbyars@cravath.com                               Telephone: 213.229.7000
       CRAVATH, SWAINE & MOORE LLP                      Facsimile: 213.229.7520
6      375 Ninth Avenue                                 CYNTHIA E. RICHMAN (D.C. Bar No.
       New York, New York 10001
7                                                       492089; pro hac vice)
       Telephone: (212) 474-1000                        crichman@gibsondunn.com
       Facsimile: (212) 474-3700
8                                                       GIBSON, DUNN & CRUTCHER LLP
                                                        1050 Connecticut Avenue, N.W.
       PAUL J. RIEHLE (SBN 115199)
9                                                       Washington, DC 20036-5306
       paul.riehle@faegredrinker.com                    Telephone: 202.955.8500
       FAEGRE DRINKER BIDDLE & REATH
10                                                      Facsimile: 202.467.0539
       LLP
       Four Embarcadero Center
11                                                      MARK A. PERRY, SBN 212532
       San Francisco, California 94111                  mark.perry@weil.com
       Telephone: (415) 591-7500
12                                                      JOSHUA M. WESNESKI (D.C. Bar No.
       Facsimile: (415) 591-7510                        1500231; pro hac vice pending)
13                                                      joshua.wesneski@weil.com
                                                        WEIL, GOTSHAL & MANGES LLP
       Attorneys for Plaintiff and Counter-defendant
14                                                      2001 M Street NW, Suite 600
       Epic Games, Inc.                                 Washington, DC 20036
15                                                      Telephone: 202.682.7000
                                                        Facsimile: 202.857.0940
16
                                                        Attorneys for Defendant Apple Inc.
17
                               UNITED STATES DISTRICT COURT
18                           NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
19

20                                                  Case No. 4:20-CV-05640-YGR-TSH
      EPIC GAMES, INC.,
21                                                  JOINT LIST OF ADMITTED EXHIBITS
                    Plaintiff, Counter-defendant,
22
                           v.
23
      APPLE INC.,
24
                    Defendant, Counterclaimant.
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     JOINT LIST OF ADMITTED EXHIBITS                         CASE NO. 4:20-CV-05640-YGR-TSH
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1                   Pursuant to the Court’s February 26, 2025 request (see Tr. 1916:3-12), the Parties

2    jointly submit this list of exhibits admitted in connection the evidentiary hearing held on May 8,

3    10, 16, 17, 22 and 31, 2024 and February 24-26, 2025.

4      Exhibits        Date           Description
5      CX-0001         1/16/2024      App Store Review Guidelines dated January 16, 2024 (Dkt.
                                      874 Ex. 1)
6      CX-0002         1/16/2024      StoreKit External Purchase Link Entitlement Addendum for
                                      US Apps (Dkt. 874 Ex. 2)
7      CX-0003         1/16/2024      Apple Support Page: Distributing apps in the U.S. that
                                      provide an external purchase link (Dkt. 874 Ex. 3)
8
       CX-0004         1/16/2024      Apple Support Page: StoreKit External Purchase Link
9                                     Entitlement (US) (Dkt. 874 Ex. 4)
       CX-0009         1/16/2024      Price Committee Deck dated January 16, 2024 (Dkt. 916-7)
10     CX-0009A        1/16/2024      Price Committee Deck dated January 16, 2024 (redacted)
       CX-0013         4/5/2024       App Review Guidelines dated April 5, 2024
11     CX-0014         1/12/2024      Analysis Group Report (Detailed)
12     CX-0015         1/12/2024      Analysis Group Report (Streamlined)
       CX-0016         N/A            Apple Support Page: Buttons
13     CX-0037         3/5/2024       Apple Developer Blog, Updated App Review Guidelines Now
                                      Available (Mar. 5, 2024)
14
       CX-0038         1/16/2024      Apple Developer Blog, StoreKit and Review Guideline Update
15                                    (Jan. 16, 2024)
       CX-0054         1/11/2024      Price Committee Deck dated January 11, 2024
16     CX-0202         9/13/2021      Notes titled “Dynamite Regroup”
       CX-0206         11/16/2021     Direct messages among B. Mihai, J. Phillips et al
17     CX-0216         4/3/2023       Text messages among K. Vij and M. Thieme with screenshots
18                                    from presentations titled: “Alternative Payments With
                                      Commission”; “Alternative Payments With Commission”;
19                                    “Alternative Payments With Commission (Global)”
       CX-0223         6/16/2023      Email from S. Cameron to P. Schiller et al re “Wisconsin Deck
20                                    – Review for Tim Meeting on 6/20” attaching presentation
                                      titled “Epic Injunction Implementation Proposal”
21
       CX-0224         6/19/2023      StoreKit External Purchase Link Entitlement Addendum for
22                                    US Apps (Dkt. 874 Ex. 2)
       CX-0225         6/23/2023      Email from S. Cameron to T. Cook re “Epic injunction –
23                                    consumer warning revision” attaching presentation titled
                                      “[CONFIDENTIAL CODENAME]/Wisconsin Sheet – Copy
24                                    Update”
25     CX-0227         7/5/2023       Presentation titled “App Store Price Committee – U.S Linked
                                      Transactions”
26     CX-0229         8/15/2023      Email from P. Schiller to J. Brown et al re “Wisconsin Plans”
       CX-0231         8/31/2023      Presentation titled “Existing Programs and Exceptions”
27     CX-0244         5/8/2024       Text Messages between M. Goldberg and H. Smith
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     JOINT LIST OF ADMITTED EXHIBITS                 2           CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR      Document 1287        Filed 02/27/25      Page 3 of 6




       Exhibits      Date         Description
1
       CX-0246       5/30/2023    Email from C. Canter to S. Cameron, L. Lew, and J. Cody,
2                                 copying C. Oliver et al, re “Privileged & Confidential - Fwd:
                                  Bumble Inc Alternative Billing Program Learnings for App
3                                 Store” attaching presentation titled “Bumble Inc x Alternative
                                  Payment Learnings for App Store”: “Bumble”
4      CX-0251       6/13/2023    Notes titled “6/13 Epic Injunction Next Steps”
5      CX-0257       5/10/2024    Text messages between M. Goldberg and H. Smith
       CX-0264       5/17/2023    Text messages between K. Vij and N. Barton
6      CX-0265       2/10/2023    Text messages between K. Vij and N. Barton
       CX-0266       1/7/2022     Email from Sean L. to C. Oliver et al. re “Alternative
7                                 Payments in Korea - Developer Feedback”
8      CX-0268       1/13/2022    Email from M. Gromek to P. Schiller re “HI and Copy
                                  Updates” for Netherlands dating apps
9      CX-0272       5/19/2023    Presentation titled “Proposed responses to Epic injunction”
       CX-0274       6/12/2023    Presentation titled “Pricing Options”
10     CX-0279       6/27/2023    Email from C. Oliver to S. Cameron and P. Schiller et al re
                                  “Updated Wisconsin deck for review”
11
       CX-0281       3/15/2022    Direct messages among M. Bihai, J. Elman, R. Onak and T.
12                                Liu
       CX-0291       6/28/2023    Presentation with notes titled “Epic Injunction
13                                Implementation”
       CX-0384       6/24/2023    Email from L. Pulchny to T. Washburn et al re “Wisconsin
14
                                  Prep for 6/28 Tim Mtg. Actions”
15     CX-0399       6/26/2023    Notes titled “6-26-23 Epic Discussion”
       CX-0435       6/26/2023    Meeting invitation from K. Vij to C. Oliver et al re “Wisconsin
16                                Program’s Slide sync”
       CX-0464       7/2/2023     Text messages among P. Ajemian, H. Smith et al
17     CX-0477       7/6/2023     Presentation with notes titled “Epic Injunction Compliance
18                                Press Briefing”
       CX-0478       12/8/2023    Email from M. Goldberg to C. Oliver et al re Checking in:
19                                Wisconsin
       CX-0479       1/16/2024    Email from H. Smith to M. Goldberg re Updated QA and
20                                Deck
       CX-0484       5/25/2023    Email from T. Liu to M. Fischer et al re [Phil Deck] Wisconsin
21
                                  attaching presentation titled “Wisconsin”
22     CX-0485       6/1/2023     Meeting Invitation titled “Epic Injunction Implementation”
       CX-0486       12/9/2021    Email from J. Cheung to P. Velamuri et al re [Notes] Weekly
23                                App Store Roadmap Sync - 12/9
       CX-0487       5/15/2023    Direct Message Exchange among A. Savio, D. DuBois et al
24
       CX-0488       5/18/2023    Meeting Invitation titled “Wisconsin Business Update”
25     CX-0489       6/16/2023    Email from C. Jones to V. Vu re Adding Key Stakeholders -
                                  Epic Injunction
26     CX-0490       5/23/2023    Email from A. Hawthorne to K. Vij et al re Wisconsin -
                                  Financials Follow-Up
27     CX-0496       3/15/2022    Text Messages among T. Liu, M. Gromek et al
28     CX-0499       6/1/2023     Text Messages among C. Oliver, A. Thai, and S. Cameron
       CX-0503       6/13/2023    Text Messages among C. Oliver, M. Fischer, and N. Barton

     JOINT LIST OF ADMITTED EXHIBITS             3           CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR      Document 1287        Filed 02/27/25     Page 4 of 6




       Exhibits      Date         Description
1
       CX-0505       6/27/2023    Email from T. Washburn to M. Fischer et al re “Updated
2                                 Wisconsin Deck for 6/28” attaching presentation titled “Epic
                                  Injunction Implementation”
3      CX-0506       6/26/2023    Document titled “Privileged & Confidential - Wisconsin
                                  Overview”
4      CX-0509       6/13/2023    Virtual Meeting Invitation titled “Wisconsin: Team
5                                 Commission Follow-Up”
       CX-0511       6/28/23      Text Messages between C. Oliver and K. Vij
6      CX-0520       11/15/2021   Presentation titled “App Store - Michigan (IAP Links)”
       CX-0529       1/18/2024    Presentation titled “Epic Injunction Compliance Press
7                                 Briefing”
       CX-0532       6/22/2023    Email from S. Cameron to K. Adams et al re Epic Injunction
8
                                  Implementation
9      CX-0538       6/15/2023    Email from J. Brown to K. Vij and T. Washburn re Updated
                                  Wisconsin Deck
10     CX-0539       6/1/2023     Text Messages between N. Barton and K. Vij
       CX-0540       6/28/2023    Text Messages among M. Goldberg, F. Sainz, H. Smith
11
       CX-0832       N/A          Webpage titled “Distributing dating apps in the Netherlands”
12     CX-0859       6/1/2023     Presentation titled “Epic Injunction Implementation Proposal”
       CX-1005       5/16/2023    Webpage: “App Store stopped more than $2 billion in
13                                fraudulent transactions in 2022”
       CX-1103       5/27/2023    Email from A. Thai to J. Brown, B. Cote, J. Phillips, T. Liu,
14                                and J. Magnani re “Fwd: Wisconsin Design Deliverables”
15     CX-1104       6/9/2023     Pages document entitled “Wisconsin Proposals 6/1”
       CX-1208       5/15/2023    Direct Message Exchanges between B. Cote, J. Magnani, R.
16                                Onak, and T. Liu
       CX-1210       6/21/2023    Direct Message Exchanges between A. Savio, J. Woo, R.
17                                Onak, and S. Krueger re “Wisconsin”
       CX-1211       6/21/2023    Direct Message Exchanges between J. Phillips, J. Magnani,
18
                                  and R. Onak
19     CX-1303       5/17/2023    Presentation titled “Business Risks Update”
       CX-1304       5/24/2023    Presentation titled “Wisconsin Financials Follow-Up”
20     CX-1310       6/28/2023    Text Messages between C. Oliver and K. Vij
       CX-1504       1/17/2024    Email from F. Sainz to S. Whittington and M. Goldberg re:
21
                                  “Fwd: MacRumors - U.S. Developers Can Now Offer Non-
22                                App StorePurchasing Option, But Apple Will Still Collect
                                  Commissions”
23     CX-1505       3/13/2024    Email from M. Goldberg to H. Smith re: “Bloomberg - Epic
                                  Asks Judge to Hold Apple in Contempt for Breaking Order”
24     CX-1506       5/9/2024     Email from Z. Silver to H. Smith and M. Goldberg re: “Apple-
25                                Epic Hearing Coverage 5.9.24”
       CX-1507       5/11/2024    Email from M. Royer to M. Goldberg and H. Smith re:
26                                “Apple-Epic Injunction Hearing Coverage Report 5.10.24”

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     JOINT LIST OF ADMITTED EXHIBITS            4           CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR      Document 1287      Filed 02/27/25    Page 5 of 6




1    DATED: February 27, 2025                      CRAVATH, SWAINE & MOORE LLP

2

3                                                  By: /s/ Michael J. Zaken
                                                      Michael J. Zaken (pro hac vice)
4                                                     Counsel for Plaintiff Epic Games, Inc.
5

6

7
     DATED: February 27, 2025                      WEIL, GOTSHAL & MANGES LLP
8
9
                                                   By: /s/ Joshua M. Wesneski
10                                                    Joshua M. Wesneski (pro hac vice)
                                                      Counsel for Defendant Apple Inc.
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     JOINT LIST OF ADMITTED EXHIBITS        5             CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR           Document 1287         Filed 02/27/25       Page 6 of 6




1                                       E-FILING ATTESTATION

2    I, Michael J. Zaken, am the ECF User whose ID and password are being used to file this

3    document. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that each of the

4    signatories identified above has concurred in this filing.

5

6                                                                 /s/ Michael J. Zaken
                                                                  Michael J. Zaken
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     JOINT LIST OF ADMITTED EXHIBITS                  6             CASE NO. 4:20-CV-05640-YGR-TSH
